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                        EXHIBIT 7




                                                                           UBS075
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UNITED STATES BANKRUPTCY COURT
NORTHER DISRICT OF TEXAS
--------------------------------------------------------------------x Case No.: 19-34054-sgj11
In re HIGHLAND CAPITAL MANAGEMENT, L.P.,                              Chapter 11
                                                                      Adv. Proc. No. 21-03020-sgj
                                    Debtor
UBS SECURITIES LLC AND UBS AG LONDON
BRANCH,
                                     Plaintiff,
        - against -                                                                           AFFIDAVIT OF
                                                                                           ATTEMPTED SERVICE
HIGHLAND CAPITAL MANAGEMENT, L.P.                                                           ON JAMES DONDERO
                                    Defendant.
--------------------------------------------------------------------x
STATE OF TEXAS                                 )
                                         s.s.: )
COUNTY OF DALLAS                               )


        I, WHITNIE RENEE CLIMER, being duly sworn, depose and say:

        1.       I am not a party in this action and am over the age of eighteen years. I reside in

the state of Texas.

        2.       Under the direction of Serving by Irving, Inc., I was assigned to effectuate service

of a Subpoena to Testify at a Deposition in a Bankruptcy Case (or Adversary Proceeding) with

$40.00 witness fee, and a Subpoena to Produce Documents, Information, or Objects or to Permit

Inspection of Premises in Bankruptcy Case (or Adversary Proceeding) with Attachment A upon

James Dondero for the law firm of Latham & Watkins LLP in the above captioned matter.

        3.       On Tuesday, April 6, 2021 at 3:50 PM, I attempted service at NexBank’s

headquarters located at 2515 McKinney Avenue, Suite 1100, Dallas, TX 75201. I disclosed to

the receptionist that I have a delivery for Mr. Dondero. I was told by the receptionist that he is

not in the office. I stayed outside the office until 5:00 PM. Mr. Dondero was not seen during that

time. I then left the area.


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                                     New York City Dept. of Consumer Affairs License No. 0761160
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                                                                                                           UBS076
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       4.         On Wednesday, April 7, 2021 at 8:30 AM, I returned to 2515 McKinney Avenue,

Suite 1100, Dallas, TX 75201 to undertake a surveillance. No sight of Mr. Dondero and at

approximately 9:50 AM, I went into the suite and ask for him. The same receptionist from the

previous attempt, Tina Harris, stated Mr. Dondero is not there and was not going to be there. No

further information was provided. I stayed at the location until 10:51 AM and then departed the

building.

       5.         After due diligence, I was unable to personally serve James Dondero with the said

documents at the given business address.

                                                                        ~~~
                                                                          WHITNIE RENEE CLIMER
                                                                          PSC-11907, Exp. 03/31/2022


Sworn to before me this
15rthda~ f April, 2021




             JASON M. COHEN
            My Notary ID# 3102653
             Expires April 23, 2022




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                                       New York City Dept. of Consumer Affairs License No. 0761160
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                                                                                                           UBS077
